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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                          November 2, 2020
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                                                             :
 SERGEI CHEPILKO,
                                                             :
                                     Plaintiff,              :
                                                             :     18-CV-2195 (ALC) (SDA)
                        -against-                            :
                                                             :     ORDER
 CITY OF NEW YORK, et al,                                    :
                                                             :
                                     Defendants.             :
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ANDREW L. CARTER, JR., United States District Judge:

        On October 30, 2020, Defendants filed a request for a pre-motion conference in

anticipation of their summary judgment motion. ECF No. 46. Pro se Plaintiff shall respond in

writing to Defendants’ request by November 9, 2020. Defendants are directed to communicate this

order to Plaintiff by every means available.


SO ORDERED.

Dated: November 2, 2020                                      ___________________________________
       New York, New York                                         ANDREW L. CARTER, JR.
                                                                  United States District Judge
